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 17                    SOUTHERN DISTRICT OF CALIFORNIA

 18                                          Master File No. 3:16-CV-03044-L-MDD
 19
        IN RE ILLUMINA, INC.                 CLASS ACTION
 20     SECURITIES LITIGATION
 21                                          NOTICE OF WITHDRAWAL OF
                                             DOCUMENT
 22
 23                                          Case Management Conference:
                                             Date: May 11, 2018
 24                                          Time: 10:30 AM
 25                                          Magistrate Judge: Hon. Karen S. Crawford
                                             Location: Telephonically
 26
      SF: 275945
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 28                                                        Notice of Withdrawal of Document
                                                      Master File No. 3:16-CV-03044-L-MDD
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  1        Defendants Illumina, Inc., Francis A. deSouza, and Marc A. Stapley, by and
  2 through their undersigned attorneys, request to withdraw Document Number 52
  3 (Joint Rule 26(f) Report), filed and entered on May 4, 2018. Document Number 52
  4 has been lodged with United States Magistrate Judge Karen S. Crawford per Court
  5 Order on May 7, 2018.
  6
  7
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                                                                  Withdrawal of Document
                                                   Master File No. 3:16-CV-03044-L-MDD
Case 3:16-cv-03044-L-KSC Document 53 Filed 05/07/18 PageID.1296 Page 3 of 3




  1
  2                            CERTIFICATE OF SERVICE
  3          I hereby certify that on May 7, 2018, I electronically filed the foregoing
  4 document(s) with the Clerk of the Court by using the CM/ECF System for filing
  5 and transmittal of a Notice of Electronic Filing was automatically generated to the
  6 CM/ECF registrants on record. Participants in the case who are not registered
  7 CM/ECF users will be served by mail or by other means permitted by the court
  8 rules.
  9
 10 Dated: May 7, 2018                            /s/ Mark Chen
 11                                               Mark Chen

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